Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 1 of 15 PageID# 79889
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 2 of 15 PageID# 79890
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 3 of 15 PageID# 79891
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 4 of 15 PageID# 79892
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 5 of 15 PageID# 79893
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 6 of 15 PageID# 79894
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 7 of 15 PageID# 79895
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 8 of 15 PageID# 79896
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 9 of 15 PageID# 79897
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 10 of 15 PageID#
                                   79898
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 11 of 15 PageID#
                                   79899
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 12 of 15 PageID#
                                   79900
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 13 of 15 PageID#
                                   79901
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 14 of 15 PageID#
                                   79902
Case 1:23-cv-00108-LMB-JFA Document 1065-1 Filed 07/27/24 Page 15 of 15 PageID#
                                   79903
